         Case:23-10808-JGR Doc#:220 Filed:12/13/23                                  Entered:12/13/23 16:20:23 Page1 of 9
Fill in this information to identify the case:

            North Shore Associates
Debtor Name __________________________________________________________________


                                        District ofDistrict
United States Bankruptcy Court for the: _______     Coloradoof ________

                                                                                                                        Check if this is an
Case number: 1:23-bk-10808
             _________________________
                                                                                                                          amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                               12/17

Month:                 NOV 30, 2023
                      ___________                                                                 Date report filed:    12/11/2023
                                                                                                                        ___________
                                                                                                                        MM / DD / YYYY

                   Property Holding Company
Line of business: ________________________                                                        NAISC code:           531120
                                                                                                                        ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                            Susannah Prill, CPA/ABV, CFE
                                              ____________________________________________

Original signature of responsible party       ____________________________________________

Printed name of responsible party             Susannah Prill CPA/ABV. CFE
                                              ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                             Yes     No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.    Did the business operate during the entire reporting period?                                                       
                                                                                                                             ✔                
    2.    Do you plan to continue to operate the business next month?                                                        
                                                                                                                             ✔                
    3.    Have you paid all of your bills on time?                                                                                           
                                                                                                                                               ✔

    4.    Did you pay your employees on time?                                                                                                
                                                                                                                                               ✔

    5.    Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                                    
                                                                                                                                               ✔

    6.    Have you timely filed your tax returns and paid all of your taxes?                                                 
                                                                                                                             ✔                
    7.    Have you timely filed all other required government filings?                                                       
                                                                                                                             ✔                
    8.    Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                                    
                                                                                                                                               ✔

    9.    Have you timely paid all of your insurance premiums?                                                                               
                                                                                                                                               ✔

          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                             
                                                                                                                                     ✔         
    11. Have you sold any assets other than inventory?                                                                              
                                                                                                                                     ✔         
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                       
                                                                                                                                     ✔         
    13. Did any insurance company cancel your policy?                                                                               
                                                                                                                                     ✔         
    14. Did you have any unusual or significant unanticipated expenses?                                                             
                                                                                                                                     ✔         
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                         
                                                                                                                                     ✔         
    16. Has anyone made an investment in your business?                                                                             
                                                                                                                                     ✔         
Official Form 425C                             Monthly Operating Report for Small Business Under Chapter 11                      page 1
        Case:23-10808-JGR Doc#:220 Filed:12/13/23                             Entered:12/13/23 16:20:23 Page2 of 9

Debtor Name   North  Shore Associates
              _______________________________________________________                             1:23-bk-10808
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                              304,322.93
                                                                                                                            $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                            140,000.00
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                             140,000.00
                                                                                                                         + $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                             444,322.93
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                         61,915.66
                                                                                                                            $ ___

               (Exhibit E)       Entire amount consists of interest payable to related party, Wapello Holdings LLC.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
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Debtor Name   North Shore Associates
              _______________________________________________________                                1:23-bk-10808
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                         806,496.64
                                                                                                                               $ ____________

               (Exhibit F)     The entire amount consists of rent owed by related party, North Shore Manor Inc.



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                           0
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                           0
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                         0.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                            0.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                           70,000.00
                                        $ ____________           –     140,000.00
                                                                     $ ____________
                                                                                               =       70,000.00
                                                                                                   $ ____________
    32. Cash receipts
                                                 0.00                         0.00             =            0.00
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                           70,000.00             –     140,000.00              =       70,000.00
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                           70,000.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                         0.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                    70,000.00




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        Case:23-10808-JGR Doc#:220 Filed:12/13/23                            Entered:12/13/23 16:20:23 Page4 of 9

Debtor Name   North Shore Associates
              _______________________________________________________                            1:23-bk-10808
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.
    ✔ 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.
    

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                         page 4


         Print                     Save As...                                                                               Reset
                                                                                                  North Shore & Associates
Accrual Basis
                                          Case:23-10808-JGR Doc#:220  Filed:12/13/23
                                                                  Balance                 Entered:12/13/23 16:20:23 Page5 of 9
                                                                          Sheet Prev Year Comparison
                                                                                                    As of November 30, 2023




                                                  Dec 31, 22      March 31, 23    April 31, 23     May 31, 23     June 30, 23     July 31, 23     Aug 31, 23      Sept 30, 23     Oct 31, 23      Nov 30, 23
ASSETS
    Current Assets
         Checking/Savings
              First National Bank                     2,705.03       24,322.93       24,322.93       24,322.93       24,322.93       94,322.93      164,322.93      234,322.93      304,322.93      444,322.93
         Total Checking/Savings                       2,705.03       24,322.93       24,322.93       24,322.93       24,322.93       94,322.93      164,322.93      234,322.93      304,322.93      444,322.93
         Accounts Receivable
              Accounts Receivable                   448,000.00      596,496.64      666,496.64      736,496.64      806,496.64      806,496.64      806,496.64      806,496.64      806,496.64      806,496.64
         Total Accounts Receivable                  448,000.00      596,496.64      666,496.64      736,496.64      806,496.64      806,496.64      806,496.64      806,496.64      806,496.64      806,496.64
    Total Current Assets                            450,705.03      620,819.57      690,819.57      760,819.57      830,819.57      900,819.57      970,819.57    1,040,819.57    1,110,819.57    1,250,819.57
    Fixed Assets
         Basis
              Building-Nursing Home               1,124,000.00     1,124,000.00   1,124,000.00     1,124,000.00   1,124,000.00    1,124,000.00    1,124,000.00    1,124,000.00    1,124,000.00    1,124,000.00
              Building-Commons                    1,689,869.10     1,689,869.10   1,689,869.10     1,689,869.10   1,689,869.10    1,689,869.10    1,689,869.10    1,689,869.10    1,689,869.10    1,689,869.10
              Commons-Personal Property             363,559.56      363,559.56      363,559.56      363,559.56      363,559.56      363,559.56      363,559.56      363,559.56      363,559.56      363,559.56
              Improvements-Building                 620,083.41      620,083.41      620,083.41      620,083.41      620,083.41      620,083.41      620,083.41      620,083.41      620,083.41      620,083.41
              Land                                   75,000.00       75,000.00       75,000.00       75,000.00       75,000.00       75,000.00       75,000.00       75,000.00       75,000.00       75,000.00
              Improvements-Land                     184,474.47      184,474.47      184,474.47      184,474.47      184,474.47      184,474.47      184,474.47      184,474.47      184,474.47      184,474.47
              Kitchen Equipment                      35,733.00       35,733.00       35,733.00       35,733.00       35,733.00       35,733.00       35,733.00       35,733.00       35,733.00       35,733.00
              Furniture & Fixtures                   89,563.64       89,563.64       89,563.64       89,563.64       89,563.64       89,563.64       89,563.64       89,563.64       89,563.64       89,563.64
         Total Basis                              4,182,283.18     4,182,283.18   4,182,283.18     4,182,283.18   4,182,283.18    4,182,283.18    4,182,283.18    4,182,283.18    4,182,283.18    4,182,283.18
         Accumulated Depreciation
              A/D Building-Nursing Home           -1,124,000.00   -1,124,000.00   -1,124,000.00   -1,124,000.00   -1,124,000.00   -1,124,000.00   -1,124,000.00   -1,124,000.00   -1,124,000.00   -1,124,000.00
              A/D Building-Commons                -1,026,791.80   -1,037,553.97   -1,041,141.36   -1,044,728.75   -1,048,316.14   -1,051,903.53   -1,055,490.92   -1,059,078.31   -1,062,665.70   -1,066,253.09
              A/D Commons-Personal Property        -363,559.56      -363,559.56    -363,559.56      -363,559.56    -363,559.56     -363,559.56     -363,559.56     -363,559.56     -363,559.56     -363,559.56
              A/D Improvements-Building            -619,086.01      -623,181.34    -624,546.45      -625,911.56    -627,276.67     -628,641.78     -630,006.89     -631,372.00     -632,737.11     -634,102.22
              A/D Improvements-Land                -184,474.47      -184,474.47    -184,474.47      -184,474.47    -184,474.47     -184,474.47     -184,474.47     -184,474.47     -184,474.47     -184,474.47
              A/D Kitchen Equipment                 -35,733.00       -35,733.00     -35,733.00       -35,733.00     -35,733.00      -35,733.00      -35,733.00      -35,733.00      -35,733.00      -35,733.00
              A/D Furniture & Fixtures              -89,563.64       -89,563.64     -89,563.64       -89,563.64     -89,563.64      -89,563.64      -89,563.64      -89,563.64      -89,563.64      -89,563.64
         Total Accumulated Depreciation           -3,443,208.48   -3,458,065.98   -3,463,018.48   -3,467,970.98   -3,472,923.48   -3,477,875.98   -3,482,828.48   -3,487,780.98   -3,492,733.48   -3,497,685.98
    Total Fixed Assets                              739,074.70      724,217.20      719,264.70      714,312.20      709,359.70      704,407.20      699,454.70      694,502.20      689,549.70      684,597.20
    Other Assets
         Basis-Intangibles
              Loan Costs                             10,445.36       10,445.36       10,445.36       10,445.36       10,445.36       10,445.36       10,445.36       10,445.36       10,445.36       10,445.36
              Goodwill                                5,000.00         5,000.00       5,000.00         5,000.00       5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00
         Total Basis-Intangibles                     15,445.36       15,445.36       15,445.36       15,445.36       15,445.36       15,445.36       15,445.36       15,445.36       15,445.36       15,445.36
         Accum Amort-Intangibles
              A/A Loan Costs                          -9,095.28       -9,961.69     -10,072.58       -10,183.47     -10,294.36      -10,405.25      -10,516.14      -10,627.03      -10,737.92      -10,848.81
         Total Accum Amort-Intangibles                -9,095.28       -9,961.69     -10,072.58       -10,183.47     -10,294.36      -10,405.25      -10,516.14      -10,627.03      -10,737.92      -10,848.81
    Total Other Assets                                6,350.08         5,483.67       5,372.78         5,261.89       5,151.00        5,040.11        4,929.22        4,818.33        4,707.44        4,596.55
TOTAL ASSETS                                      1,196,129.81     1,350,520.44   1,415,457.05     1,480,393.66   1,545,330.27    1,610,266.88    1,675,203.49    1,740,140.10    1,805,076.71    1,940,013.32

LIABILITIES & EQUITY
    Liabilities
         Accounts Payable
         Long Term Liabilities
              Notes Payable
                   Wapello Holdings LLP           1,846,729.30     1,834,761.12   1,840,724.09     1,846,706.44   1,852,708.24    1,858,930.25    1,865,173.16    1,871,234.97    1,877,519.20    1,883,621.14
              Total Notes Payable                 1,846,729.30     1,834,761.12   1,840,724.09     1,846,706.44   1,852,708.24    1,858,930.25    1,865,173.16    1,871,234.97    1,877,519.20    1,883,621.14
         Total Long Term Liabilities              1,846,729.30     1,834,761.12   1,840,724.09     1,846,706.44   1,852,708.24    1,858,930.25    1,865,173.16    1,871,234.97    1,877,519.20    1,883,621.14
    Total Liabilities                             1,846,729.30     1,834,761.12   1,840,724.09     1,846,706.44   1,852,708.24    1,858,930.25    1,865,173.16    1,871,234.97    1,877,519.20    1,883,621.14
    Equity




                                                                                                                                                                                                                  Page 1 of 3
                                                                                                North Shore & Associates
Accrual Basis
                                        Case:23-10808-JGR Doc#:220  Filed:12/13/23
                                                                Balance                 Entered:12/13/23 16:20:23 Page6 of 9
                                                                        Sheet Prev Year Comparison
                                                                                                  As of November 30, 2023




                                                Dec 31, 22      March 31, 23    April 31, 23     May 31, 23     June 30, 23    July 31, 23    Aug 31, 23     Sept 30, 23    Oct 31, 23     Nov 30, 23

        Withdrawls
            Joshua Levin 08 Trust, 3.125%         -13,500.00            0.00             0.00           0.00            0.00           0.00          0.00            0.00           0.00          0.00
            Esther Levin Trust, 6.25%             -13,500.00            0.00             0.00           0.00            0.00           0.00          0.00            0.00           0.00          0.00
            Baruch & Lynne Levin, 6.25%           -13,500.00            0.00             0.00           0.00            0.00           0.00          0.00            0.00           0.00          0.00
            Menachem & Shos Levin, 6.25%          -13,500.00            0.00             0.00           0.00            0.00           0.00          0.00            0.00           0.00          0.00
            B Radetsky, 11.25%                    -24,300.00            0.00             0.00           0.00            0.00           0.00          0.00            0.00           0.00          0.00
            L. Fogel, 18.75%                      -40,500.00            0.00             0.00           0.00            0.00           0.00          0.00            0.00           0.00          0.00
            M. Kohn, 25%                          -54,000.00            0.00             0.00           0.00            0.00           0.00          0.00            0.00           0.00          0.00
            R. Wilson 15%                         -32,400.00            0.00             0.00           0.00            0.00           0.00          0.00            0.00           0.00          0.00
            M or M Kohn 5%                        -10,800.00            0.00             0.00           0.00            0.00           0.00          0.00            0.00           0.00          0.00
        Total Withdrawls                         -216,000.00            0.00             0.00           0.00            0.00           0.00          0.00            0.00           0.00          0.00
        Retained Earnings                       -1,125,502.16     -650,599.49    -650,599.49      -650,599.49    -650,599.49    -650,599.49    -650,599.49    -650,599.49   -650,599.49     -650,599.49
        Net Income                                690,902.67      166,358.81      225,332.45      284,286.71      343,221.52     401,936.12    460,629.82      519,504.62    578,157.00     706,991.67
    Total Equity                                 -650,599.49      -484,240.68    -425,267.04      -366,312.78    -307,377.97    -248,663.37    -189,969.67    -131,094.87     -72,442.49     56,392.18
TOTAL LIABILITIES & EQUITY                      1,196,129.81     1,350,520.44   1,415,457.05     1,480,393.66   1,545,330.27   1,610,266.88   1,675,203.49   1,740,140.10   1,805,076.71   1,940,013.32




                                                                                                                                                                                                          Page 2 of 3
Accrual Basis
                                                                Case:23-10808-JGR Doc#:220 Filed:12/13/23          Entered:12/13/23 16:20:23 Page7 of 9
                                                                                               North Shore & Associates
                                                                                                                                Profit & Loss YTD Comparison


                                                      Jan - Dec 22     MTD Jan 23     MTD Feb 23    MTD Mar 23    MTD Apr 23     MTD May 23    MTD June 23    MTD July 23    MTD Aug 23    MTD Sept 23    MTD Oct 23     MTD Nov 23    YTD Nov 23
    Ordinary Income/Expense
             Income
                 Rent                                   840,000.00        70,000.00     70,000.00     70,000.00     70,000.00      70,000.00      70,000.00     70,000.00      70,000.00      70,000.00     70,000.00     140,000.00    840,000.00
             Total Income                               840,000.00        70,000.00     70,000.00     70,000.00     70,000.00      70,000.00      70,000.00     70,000.00      70,000.00      70,000.00     70,000.00     140,000.00    840,000.00
        Gross Profit                                    840,000.00        70,000.00     70,000.00     70,000.00     70,000.00      70,000.00      70,000.00     70,000.00      70,000.00      70,000.00     70,000.00     140,000.00    840,000.00
             Expense
                 Interest-Wapello Holdings LLC           85,785.86         6,201.93      5,575.23      6,628.77      5,962.97       5,982.35       6,001.80      6,222.01       6,242.91       6,061.81      6,284.23       6,101.94     67,265.95
                 Professional Service Fees                1,550.00             0.00      3,000.00      7,000.00          0.00           0.00           0.00          0.00           0.00           0.00          0.00           0.00     10,000.00
                 Bank Fees                                1,000.00             0.00          0.00          0.00          0.00           0.00           0.00          0.00           0.00           0.00          0.00           0.00          0.00
             Total Expense                               88,335.86         6,201.93      8,575.23     13,628.77      5,962.97       5,982.35       6,001.80      6,222.01       6,242.91       6,061.81      6,284.23       6,101.94     77,265.95
    Net Ordinary Income                                 751,664.14        63,798.07     61,424.77     56,371.23     64,037.03      64,017.65      63,998.20     63,777.99      63,757.09      63,938.19     63,715.77     133,898.06    762,734.05
    Other Income/Expense
        Other Expense
             Depreciation/Amortization
                 Depr Building-Commons                   43,049.00         3,587.39      3,587.39      3,587.39      3,587.39       3,587.39       3,587.39      3,587.39       3,587.39       3,587.39      3,587.39       3,587.39     39,461.29
                 Depr Improvements-Building              16,381.00         1,365.11      1,365.11      1,365.11      1,365.11       1,365.11       1,365.11      1,365.11       1,365.11       1,365.11      1,365.11       1,365.11     15,016.21
                 Amort Loan Costs                               0.47        110.89           0.00       266.87        110.89         110.89         110.89         110.89        110.89         110.89         110.89        110.89       1,264.88
             Total Depreciation/Amortization              1,331.00         5,063.39      4,952.50      5,219.37      5,063.39       5,063.39       5,063.39      5,063.39       5,063.39       5,063.39      5,063.39       5,063.39     55,742.38
        Total Other Expense                              60,761.47         5,063.39      4,952.50      5,219.37      5,063.39       5,063.39       5,063.39      5,063.39       5,063.39       5,063.39      5,063.39       5,063.39     55,742.38
    Net Other Income                                     60,761.47        -5,063.39     -4,952.50     -5,219.37     -5,063.39      -5,063.39      -5,063.39      -5,063.39     -5,063.39      -5,063.39      -5,063.39     -5,063.39    -55,742.38
Net Income                                              690,902.67        58,734.68     56,472.27     51,151.86     58,973.64      58,954.26     58,934.81      58,714.60      58,693.70      58,874.80     58,652.38     128,834.67    706,991.67


(A) Accrued interest at Nov 30, 2023                                   $67,265.95
(A) Accrued interest at filing date per Wapello Holdings, LLC           $5,350.29
                                                                       $61,915.66
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